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                                                                                                 Jeffrey D. Geoppinger
                                                                                                 Partner
                                                                                        DIRECT   513.698.5038
                                                                                    DIRECT FAX   513.698.5039
                                                                                         EMAIL   jgeoppinger@ulmer.com




                                                           May 24, 2023



                 VIA ECF AND ELECTRONIC MAIL

                 Special Master the Honorable Thomas Vanaskie
                 Stevens & Lee
                 1500 Market Street, East Tower
                 18th Floor
                 Philadelphia, PA 19103


                           Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                                      Case No. 1:19-md-02875-RBK-JS-SAK

                 Dear Special Master Vanaskie:

                           This letter constitutes the parties’ joint status report following our appearance before

                 the Special Master on Wednesday, May 17. Plaintiffs’ counsel has reviewed this letter and

                 consents to its submission.

                           The parties held a meet-and-confer on Monday, May 22, 2023, to discuss Wholesaler
   CLEVELAND
                 Defendants’ proposed discovery requests to Plaintiffs regarding information and documents
    COLUMBUS

    CINCINNATI   about Plaintiffs’ claim for unjust enrichment against Wholesaler Defendants. The parties
     CHICAGO
                 have been unable to agree on most issues and therefore require a briefing schedule for
    NEW YORK

WASHINGTON DC    submission of any disputes to your Honor. The parties jointly request that the Court enter
   BOCA RATON
                 the following schedule for submission of briefing on Wholesalers Defendants’ proposed
   ULMER.COM
                 discovery requests:

                           June 13, 2023 – Wholesaler Defendants file their initial letter brief requiring

                 Plaintiffs to respond to the subject discovery;

                 312 Walnut Street                            FIRM   513.698.5000          FAX   513.698.5001
                 Suite 1400
                 Cincinnati, OH 45202-4029
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               June 27, 2023 – Plaintiffs file their response/opposition to Wholesaler Defendants’

       initial letter brief;

               June 30, 2023 – Wholesaler Defendants file their reply brief, limited to 2 pages.

               We appreciate your assistance in this matter.

                                             Very truly yours,

                                             /s/ Jeffrey D. Geoppinger

                                             Jeffrey D. Geoppinger
                                             Liaison Counsel for Wholesalers
                                             Counsel for AmerisourceBergen Corporation



       cc: All Counsel of Record (via ECF)
